                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR07-4037-MWB
 vs.                                           REPORT AND RECOMMENDATION
                                               ON DEFENDANT’S OBJECTION TO
 MAURICE HALTIWANGER,
                                                   PLAINTIFF’S 851 NOTICE
               Defendant.
                                 ____________________


       The defendant Maurice Haltiwanger is charged in a two-count indictment with
conspiracy to distribute fifty grams or more of crack cocaine in violation of 21 U.S.C.
§ 841(a)(1) and (b)(1)(A); and distribution, or aiding and abetting the distribution, of
approximately 1.5 grams of crack cocaine, in violation of 21 U.S.C. § 841(a)(1),
(b)(1)(C), and 18 U.S.C. § 2. See Doc. No. 3. On January 6, 2009, the plaintiff (the
“Government”) filed a notice of its intent to seek enhanced penalties pursuant to 21 U.S.C.
§ 851, on the basis of Haltiwanger’s prior conviction for what the Government deems to
be a felony drug offense. See Doc. No. 71.
       On February 3, 2009, Haltiwanger filed an objection pursuant to 21 U.S.C.
§ 851(c)(1) to the Government’s notice of prior conviction (Doc. No. 80). Under the
statute, when written objections are filed, the court “shall hold a hearing to determine any
issues raised by the response which would except the person from increased punishment.”
21 U.S.C. § 851(c)(1). Accordingly, the court held a hearing on the objection on
February 10, 2009. Assistant U.S. Attorney Shawn Wehde appeared on behalf of the
plaintiff (the “Government”). The defendant Maurice Haltiwanger appeared in person
with his attorney, Jim K. McGough. The court admitted into evidence the exhibits
attached to the parties’ briefs. No other evidence was offered, but oral argument was had
on Haltiwanger’s objection.


   Case 5:07-cr-04037-MWB-KEM          Document 84       Filed 02/11/09    Page 1 of 10
       The matter now is fully submitted, and the court turns to consideration of
Haltiwanger’s objection.
       In November 2001, Haltiwanger was convicted of failure to affix a drug tax stamp
in violation of Kansas law.1 See Kan. Stat. Ann. § 79-5204. The tax stamp violation was
a “level 10 felony” under Kansas law. Kan. Stat. Ann. § 79-5208. On December 11,
2001, Haltiwanger was sentenced to one year of probation on the tax stamp charge. See
Gov’t Ex. 1, p. 4 (Doc. No. 82-3, p. 4). His probation later was revoked and he was
sentenced to six months’ imprisonment.2 See Gov’t Ex. 2, p. 2 (Doc. No. 82-3, p. 6).
       Haltiwanger’s sentence was determined based on mandatory Kansas Sentencing
Guidelines. The crime for which Haltiwanger was convicted is classified under Kansas
Law as a “nondrug crime” and a “felony.” See Doc. No. 80-3, p. 1. Under the Kansas
sentencing scheme, the “guidelines grid for nondrug crimes shall be applied in felony cases
for crimes committed on or after July 1, 1993[.]” Kan. Stat. Ann. § 21-4704(a). The
sentencing range for a level 10 felony under the Kansas guidelines was five to thirteen
months, depending on the defendant’s criminal history category. See Doc. No. 80-4, p. 1;
Doc. No. 82-3, p. 9; see United States v. Hill, 539 F.3d 1213, 1215 (10th Cir. 2008)
(explaining the Kansas sentencing structure and application of the two-dimensional
sentencing guidelines chart; noting, in footnote 1, that “[a] separate grid is used for drug
offenses” pursuant to Kan. Stat. Ann. § 21-4705).
       Haltiwanger’s criminal history placed him in Category I, making his sentencing
range five to seven months. Id.; Doc. No. 80-3, p. 1. Based on this sentencing scheme,



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         Haltiwanger also was convicted of unlawful possession of a firearm, but that conviction is not
relevant to the present inquiry.
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         The Government, in its brief, states Haltiwanger was sentenced to seven months’ imprisonment
following revocation of his probation. Gov’t Ex. 2 indicates the prison term imposed was six months, to
be served concurrently with Haltiwanger’s ten-month sentence on the firearm charge. See Gov’t Ex. 2,
p. 2 (Doc. No. 82-3, p. 6).

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   Case 5:07-cr-04037-MWB-KEM               Document 84        Filed 02/11/09       Page 2 of 10
Haltiwanger argues that because he could not have been sentenced to more than seven
months’ imprisonment, the offense does not quality as a “prior conviction for a felony drug
offense” for purposes of the federal sentence enhancement. Doc. No. 80.
       At the time Haltiwanger was sentenced, upward departures were unconstitutional
under Kansas law. Hill, 539 F.3d at 1215-16. Even if Haltiwanger had been sentenced
after June 6, 2002, his maximum sentence could not have been increased “beyond the
sentence established in the appropriate grid box” under Kan. Stat. § 21-4704 absent a
factual determination, “made by a jury beyond a reasonable doubt,” that the upward
departure was warranted. State v. Seibel, 28 P.3d 445, 446-47 (Kan. Ct. App. 2001)
(citing State v. Gould, 23 P.3d 801 (Kan. 2001), in turn relying on Apprendi v. New
Jersey, 530 U.S. 466, 120 S. Ct. 2348, 147 L. Ed. 2d 435 (2000)); see Hill, 539 F.3d at
1216. Therefore, the maximum sentence of imprisonment to which Haltiwanger could
have been sentenced was, in fact, seven months.
       To qualify as a prior felony drug offense for purposes of the federal sentence
enhancement, the predicate offense must be “punishable by imprisonment for more than
one year under any law of the United States or of a State or foreign country. . . .” 21
U.S.C. § 802(44). Thus, at first blush, it would appear that Haltiwanger’s Kansas
conviction would not qualify as a prior felony drug offense for purposes of the
enhancement. However, the Government notes the maximum possible sentence for all
defendants was thirteen months, and the Government argues the offense therefore qualifies
under section 802(44) as a prior felony drug offense.
       There appears to be no Eighth Circuit precedent directly on point. Interpreting an
Iowa drug tax stamp statute similar to the Kansas statute at issue here, Chief Judge Linda
Reade held that a conviction under the Iowa statute constituted a felony drug offense for
purposes of 21 U.S.C. §§ 841(b)(1)(B) and 851. See United States v. Coleman, 545
F. Supp. 2d 854 (N.D. Iowa 2008). However, Chief Judge Reade’s analysis in Coleman


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   Case 5:07-cr-04037-MWB-KEM          Document 84      Filed 02/11/09    Page 3 of 10
focused not on the length of the defendant’s sentence for the prior crime, but on whether
the Iowa statute prohibiting failure to affix a drug tax stamp prohibited “conduct relating
to narcotic drugs, marihuana, anabolic steroids, or depressant or stimulant substances.”
Coleman, 545 F. Supp. 2d at 855 (citing 21 U.S.C. § 802(44)). There was no question
in the case that the defendant’s prior conviction was an offense punishable by
imprisonment for more than one year. Id. The Government’s reliance on United States
v. Trevino-Rodriguez, 994 F.2d 533 (8th Cir. 1993), is unavailing for similar reasons.
Although Trevino involved the same Kansas drug tax stamp statute at issue here, the court
did not analyze the length of the sentence for the predicate offense. Further, Trevino was
decided before the current Kansas sentencing scheme was enacted. The Trevino court’s
focus was on whether violation of the Kansas statute -- at the time, an “unclassified
felony” -- constituted “a prior felony drug offense within the meaning of § 841(b)(1)(A).”
Trevino, 994 F.2d at 536.
       The most instructive case for purposes of the present analysis appears to be United
States v. Hill, 539 F.3d 1213, 1215 (10th Cir. 2008). In Hill, the court held the focus
must be not on the sentence an individual defendant may receive based on his criminal
history, but on the maximum statutory sentence for the crime. Hill, 539 F.3d at 1219-20
(citing, inter alia, United States v. Rodriquez, ___ U.S. ___, 128 S. Ct. 1783, 170 L. Ed.
2d 719 (2008)). “Focusing on the maximum sentence for the predicate crime of conviction
is mandated by the Supreme Court’s analysis in Rodriquez.” Hill, 539 F.3d at 1220. The
Hill court discussed decisions from other circuits analyzing sentence enhancements under
a number of different statutes, and concluded the determination of whether a prior crime
is punishable by more than one year’s imprisonment must be determined by focusing on
the maximum statutory sentence for the predicate crime of conviction. Id.
       Hill involved a situation analogous to the one in the present case. The court found
Hill had faced a maximum statutory sentence of less than one year for his Kansas


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   Case 5:07-cr-04037-MWB-KEM          Document 84      Filed 02/11/09    Page 4 of 10
conviction. Hill, 539 F.3d at 1218. Although some defendants convicted of the same
offense could have faced a sentence longer than one year, the court initially focused on Hill
as an individual defendant, rather than on the maximum statutory sentence for the crime.
Thus, in a prior opinion, the court held Hill’s prior conviction did not qualify as a
predicate offense for purposes of sentencing Hill as a felon in possession of a firearm
under 18 U.S.C. § 922(g)(1). See United States v. Hill, 512 F.3d 1277 (10th Cir. 2008),
vacated by Hill, 539 F.3d 1213 (10th Cir. 2008). The court granted the Government’s
motion to abate the proceedings pending the Supreme Court’s decision in Rodriquez, and
subsequently vacated its earlier opinion, holding that because the maximum term of
imprisonment authorized under the Kansas statute exceeded one year, Hill’s prior
conviction qualified as a predicate offense for purposes of the sentence enhancement.3
        Respectfully, the undersigned believes the Hill court read the Supreme Court’s
holding in Rodriquez too broadly. The Rodriquez Court did, in fact, focus on the
sentencing characteristics of each particular defendant in one important respect; i.e.,
whether the defendant has prior convictions that would subject him to a stiffer penalty
under a recidivism statute.
        Rodriquez was convicted in 2004 in the United States District Court for the Eastern
District of Washington for possession of a firearm by a convicted felon, in violation of 18
U.S.C. § 922(g)(1). He had three prior California convictions for residential burglaries.
He also had three Washington convictions for delivery of a controlled substance. His three
Washington convictions occurred on the same day, but involved three separate controlled
substance deliveries. Under Washington law, Rodriquez faced a sentence of up to five
years’ imprisonment if his drug crime was a first offense.                    See Wash. Rev. Code
§§69.50.408(a)(1)(ii)-(iv). However, for persons convicted of a second or subsequent

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          Haltiwanger’s reliance on United States v. Plakio, 433 F.3d 692 (10th Cir. 2005), is misplaced.
In Hill, the court expressly held that its approach in Plakio, focusing on the individual defendant instead
of the maximum sentence for the crime, was erroneous. See Hill, 5639 F.3d at 1218.

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   Case 5:07-cr-04037-MWB-KEM                 Document 84         Filed 02/11/09       Page 5 of 10
offense, the term of imprisonment could be doubled.              See Wash. Rev. Code
§ 69.50.408(a). “Thus, by virtue of this latter, recidivist, provision [Rodriquez] faced a
maximum penalty of imprisonment for 10 years.” Rodriquez, 128 S. Ct. at 1786-87.
       In the federal case, the Government moved to sentence Rodriquez to a minimum of
fifteen years as a person with “three previous convictions . . . for a violent felony or a
serious drug offense, or both, committed on occasions different from one another,” under
the Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e)(1). The Court observed
that under the ACCA, “a state drug-trafficking conviction qualifies as ‘a serious drug
offense’ if ‘a maximum term of imprisonment of ten years or more is prescribed by law’
for the ‘offense.’” Rodriquez, 128 S. Ct. at 1786 (citing 18 U.S.C. § 924(e)(2)(A)(ii)).
The district court held Rodriquez’s “drug trafficking convictions were not convictions for
‘serious drug offense[s]’ under the ACCA because the ‘maximum term of imprisonment’
for the purposes of § 924(e)(2)(A)(ii) is determined without reference to recidivist
enhancements.” Rodriquez, 128 S. Ct. at 1787 (citation omitted).
       The Ninth Circuit agreed, but recognized a conflict among the Circuits on the issue.
The Supreme Court grant certiorari to decide the question “whether the ‘maximum term
of imprisonment prescribed by law’ is, as [Rodriquez] maintains and the Ninth Circuit
held, the 5-year ceiling for first offenses or, as the Government contends, the 10-year
ceiling for second or subsequent offenses.”            Id. (citing Wash. Rev. Code
§§69.50.401(a)(ii)-(iv), 69.50.408(a)).
       Rodriquez advanced two arguments in support of his contention that he was not
subject to sentencing under the ACCA. Rodriquez’s arguments and the Court’s analysis
of them are instructive in the present case:
              In an effort to defend the Ninth Circuit’s decision, respondent
              offers both a textual argument and a related argument based on
              the “manifest purpose” of ACCA.



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   Case 5:07-cr-04037-MWB-KEM          Document 84      Filed 02/11/09    Page 6 of 10
        Respondent’s textual argument is as follows. The term
        “offense” “generally is understood to describe the elements
        constituting the crime.” Because prior convictions required
        for recidivist enhancement are not typically offense elements,
        they should not be considered part of the “offense” under the
        ACCA.       Thus, the “maximum term of imprisonment
        prescribed by law” for the drug convictions at issue was the
        maximum term prescribed for simply committing the elements
        of the drug offense and was therefore five years.
        Respondent’s argument is not faithful to the statutory text.
        Respondent reads ACCA as referring to “the maximum term
        of imprisonment prescribed by law” for a defendant with no
        prior convictions that trigger a recidivist enhancement,
        [emphasis by the Court] but that is not what ACCA says.
        ACCA instead refers to “the maximum term of imprisonment
        prescribed by law” for “an offense,” and, as previously
        explained, in this case, the maximum term prescribed by
        Washington law for each of respondent’s two relevant offense
        was 10 years.
        Respondent’s argument based on ACCA’s “manifest purpose”
        must also be rejected. Respondent argues that ACCA uses
        “the maximum penalty specified for the offense by state law as
        a short-hand means of identifying conduct deemed sufficiently
        ‘serious’ to trigger [the] mandatory penalty.” According to
        respondent, “[t]he nature of [a defendant’s] conduct, the
        elements of the offense, and the impact of the crime . . . are
        the characteristics that typically are used to gauge the
        ‘seriousness’ of an offense,” and a defendant’s ‘status as a
        recidivist has no connection to whether the offense committed
        by the defendant was a ‘serious’ one.”
        This argument rests on the erroneous proposition that a
        defendant’s prior record of convictions has no bearing on the
        seriousness of an offense. On the contrary, however, an
        offense committed by a repeat offender is often thought to
        reflect greater culpability and thus to merit greater punishment.
        Similarly, a second or subsequent offense is often regarded as
        more serious because it portends greater future danger and
        therefore warrants an increased sentence for purposes of

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Case 5:07-cr-04037-MWB-KEM        Document 84      Filed 02/11/09     Page 7 of 10
              deterrence and incapacitation. See Witte v. United States, 515
              U.S. 389, 403, 115 S. Ct. 2199, 132 L. Ed. 2d 351 (1995);
              Spencer v. Texas, 385 U.S. 554, 570, 87 S. Ct. 648, 17 L.
              Ed. 2d 606 (1967) (Warren, C.J., dissenting in two judgment
              and concurring in one).
              If respondent were correct that a defendant’s record of prior
              convictions has no bearing on the seriousness of an offense,
              then it would follow that any increased punishment imposed
              under a recidivist provision would not be based on the offense
              of conviction but on something else -- presumably the
              defendant’s prior crimes or the defendant’s “status as a
              recidivist.” [Emphasis added.] But we have squarely rejected
              this understanding of recidivism statutes. In Nichols v. United
              States, 511 U.S. 738, 114 S. Ct. 1921, 128 L. Ed. 2d 745
              (1994), we explained that “‘[t]his Court consistently has
              sustained repeat-offender laws as penalizing only the last
              offense committed by the defendant.’” Id. at 747, 114 S. Ct.
              1921 (quoting Baldasar v. Illinois, 446 U.S. 222, 232, 100 S.
              Ct. 1585, 64 L. Ed. 2d 169 (1980) (Powell, J., dissenting)).
              When a defendant is given a higher sentence under a
              recidivism statute -- or for that matter, when a sentencing
              judge, under a guidelines regime or a discretionary
              sentencing system, increases a sentence based on the
              defendant’s criminal history -- 100% of the punishment is for
              the offense of conviction. None is for the prior convictions
              or the defendant’s “status as a recidivist.” The sentence “is
              a stiffened penalty for the latest crime, which is considered to
              be an aggravated offense because [it is] a repetitive one.”
              [Emphasis added.] Gryger v. Burke, 334 U.S. 728, 732, 68 S.
              Ct. 1256, 92 L. Ed. 1683 (1948).
Rodriquez, 128 S. Ct. at 1788-89 (citations to the respondent’s brief omitted).
       Thus, the Rodriquez Court recognized that for purposes of recidivism statutes, a
defendant’s prior criminal history is directly relevant. The Court noted that “the ACCA
is itself a recidivist statute.” Id., 128 S. Ct. at 1789. Similarly, the sentence enhancement
provision of 21 U.S.C. § 841(b)(1)(C) also is a recidivist provision. A defendant’s
maximum sentence can be increased when, and if, the defendant has a previous felony drug

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   Case 5:07-cr-04037-MWB-KEM           Document 84      Filed 02/11/09     Page 8 of 10
conviction “punishable by imprisonment for more than one year.” 21 U.S.C. § 802(44)


      The Kansas sentencing scheme also takes into account a defendant’s prior criminal
history in determining the maximum possible sentence for each defendant. The more prior
convictions a defendant has, the higher the maximum sentence he may receive. In the
present case, the tax stamp violation for which Haltiwanger was convicted carried a
maximum sentence of five to thirteen months for all offenders.          However, as the
Government acknowledged at the hearing, the only way Haltiwanger could have been
sentenced to thirteen months’ imprisonment would have been if had three or more prior
felonies involving offenses against persons. See Doc. No. 80-4, for Category A criminal
history and a Level X felony. Instead, Haltiwanger’s criminal history placed him in
Category I, with an available sentencing range of only five to seven months.
      In the statutory instructions accompanying the sentencing range table, Kansas law
provides that “[t]he appropriate punishment for a felony conviction should depend on the
severity of the crime of conviction when compared to all other crimes and the offender’s
criminal history.” Kan. Stat. Ann. § 21-4704(d) (emphasis added). “Each grid block
states the presumptive sentencing range for an offender whose crime of conviction and
criminal history place such offender in that grid block.” Id., subsection (f). As noted
previously, at the time Haltiwanger was sentenced, the Kansas courts had no authority to
depart upward, even for compelling reasons. Thus, Haltiwanger’s maximum possible
sentence for the tax stamp violation was seven months. To argue that his conviction falls
within the federal enhancement provision because, if he had fallen into a higher criminal
history category, he could have been sentenced to a thirteen-month term, strains the
statutory language beyond its limits.
      Therefore, IT IS RESPECTFULLY RECOMMENDED that Haltiwanger’s
objection to the Government’s 851 notice be sustained. Per the parties’ agreement,


                                            9


   Case 5:07-cr-04037-MWB-KEM           Document 84    Filed 02/11/09    Page 9 of 10
objections to this Report and Recommendation must be filed by Monday, February 16,
2009.    Also per the parties’ agreement, no written transcript of the hearing on
Haltiwanger’s objection is necessary, and the court may refer to the audio record of the
oral arguments, if desired.
        IT IS SO ORDERED.
        DATED this 11th day of `February, 2009.




                                        PAUL A. ZOSS
                                        CHIEF MAGISTRATE JUDGE
                                        UNITED STATES DISTRICT COURT




                                          10


  Case 5:07-cr-04037-MWB-KEM         Document 84      Filed 02/11/09   Page 10 of 10
